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 1                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
 2                                   SAN FRANCISCO DIVISION

 3   In re: CATHODE RAY TUBE (CRT)                             Master File No. 07-5944 SC
     ANTITRUST LITIGATION
 4
                                                               MDL No. 1917
 5   This Document Relates to:
 6   Sharp Elecs. Corp. v. Hitachi, Ltd., No. 13-cv-
     01173;
 7
     Electrograph Systems, Inc. et al. v. Technicolor SA,
 8   et al., No. 13-cv-05724;                                  EXHIBIT DECLARATION OF
                                                               DAVID M. PETERSON IN
 9   Siegel v. Technicolor SA, et al., No. 13-cv-05261;        SUPPORT OF PLAINTIFFS’
                                                               OPPOSITION TO DEFENDANT
10   Best Buy Co., Inc. v. Technicolor SA, et al., No. 13-     THOMSON CONSUMER’S
     cv-05264;                                                 MOTION FOR SUMMARY
11                                                             JUDGMENT AND PARTIAL
     Interbond Corporation of America v. Technicolor           SUMMARY JUDGMENT
12   SA, et al., No. 13-cv-05727;
13   Office Depot, Inc. v. Technicolor SA, et al., No. 13-     The Honorable Samuel Conti
     cv-05726;
14
     Costco Wholesale Corporation v. Technicolor SA, et
15   al., No. 13-cv-05723;
16   P.C. Richard & Son Long Island Corporation, et al.
     v. Technicolor SA, et al., No. 13-cv-05725
17
     Schultze Agency Services, LLC, o/b/o Tweeter Opco,
18   LLC, et al. v. Technicolor SA, Ltd., et al., No. 13-cv-
     05668;
19

20   Sears, Roebuck and Co. and Kmart Corp. v.
     Technicolor SA, No. 3:13-cv-05262;
21

22   Target Corp. v. Technicolor SA, et al., No. 13-cv-
     05686;
23
     Tech Data Corp., et al. v. Hitachi, Ltd., et al., No.
24   13-cv-00157;
25   Viewsonic Corp. v. Chunghwa Picture Tubes, Ltd.,
     No. 14-cv-02510.
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      DECLARATION IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO THOMSON CONSUMER’S MOTION FOR
                      SUMMARY JUDGMENT AND PARTIAL SUMMARY JUDGMENT
                                        Master File No. 3:07-cv-5944 SC
     3473934v1/012325
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 1   I, David M. Peterson hereby declare as follows:

 2           I am attorney and counsel for plaintiff Alfred H. Siegel, solely in his capacity as Trustee of the
 3   Circuit City Stores, Inc. Liquidating Trust. I submit this declaration in support of Plaintiffs’
 4
     Opposition to Thomson Consumer’s Motion for Summary Judgment and Partial Summary Judgment.
 5
     Except for those matters stated in information and belief, which I believe to be true, I have personal
 6
     knowledge of the facts stated herein, and could and would completely testify thereto if called as a
 7

 8   witness.

 9           1.         Attached as Exhibit 1 is a true and correct copy of the Declaration of David M.
10   Peterson Pursuant to Fed. R. Civ. P. 56(d) in Support of Plaintiffs’ Opposition to Thomson
11
     Consumer’s Motion for Summary Judgment and Partial Summary Judgment, dated December 22,
12
     2014.
13
             2.         Attached as Exhibit 2 is a true and correct copy of TCE-CRT 0013596.
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15           3.         Attached as Exhibit 3 is a true and correct copy of TCE-CRT 0013599.

16           4.         Attached as Exhibit 4 is a true and correct copy of the rebuttal expert report of Dr.
17   Kenneth G. Elzinga, dated September 26, 2014.
18
             5.         Attached as Exhibit 5 is a true and correct copy of a summary chart of certain
19
     conspiratorial evidence relating to Thomson Consumer and Thomson SA.
20
             6.         Attached as Exhibit 6 is a true and correct copy of SDCRT-0086511, which is also
21

22   deposition exhibit 8064.

23           7.         Attached as Exhibit 7 is a true and correct copy of MTPD-00223790E, which is also
24   deposition exhibit 904E.
25
             8.         Attached as Exhibit 8 is a true and correct copy of SDCRT-0006632E, which is also
26
     deposition exhibit 2075E.
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 1           9.         Attached as Exhibit 9 is a true and correct copy of SDCRT-0007239_CT, which is also
 2   deposition exhibit 2112E.
 3
             10.        Attached as Exhibit 10 is a true and correct copy of MTPD-0576483E, which is also
 4
     deposition exhibit 917E.
 5
             11.        Attached as Exhibit 11 is a true and correct copy of TDA-01360, which is also
 6

 7   deposition exhibit 5813.

 8           12.        Attached as Exhibit 12 is a true and correct copy of TAEC-CRT-00090061.
 9           13.        Attached as Exhibit 13 is a true and correct copy of MPTD-0426066E, which is also
10
     deposition exhibit 818E.
11
             14.        Attached as Exhibit 14 is a true and correct copy of TAEC-CRT-00086226.
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             15.        Attached as Exhibit 15 is a true and correct copy of TAEC-CRT-00094042.
13

14           16.        Attached as Exhibit 16 is a true and correct copy of excerpts from the deposition of

15   Jacquelyn Taylor-Boggs, dated August 29, 2014.
16           17.        Attached as Exhibit 17 is a true and correct copy of excerpts from the deposition of
17
     Alex Hepburn, dated September 3, 2014.
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             18.        Attached as Exhibit 18 is a true and correct copy of the expert report of Dr. Kenneth G.
19
     Elzinga, dated April 15, 2014.
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21           19.        Attached as Exhibit 19 is a true and correct copy of TCE-CRT 0005029, which is also

22   deposition exhibit 5842.
23           20.        Attached as Exhibit 20 is a true and correct copy of TCE-CRT 0020578, which is also
24
     deposition exhibit 5837.
25
             21.        Attached as Exhibit 21 is a true and correct copy of TCE-CRT 0026353.
26
             22.        Attached as Exhibit 22 is a true and correct copy of TCE-CRT 0020445.
27

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      DECLARATION IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO THOMSON CONSUMER’S MOTION FOR
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 1           23.        Attached as Exhibit 23 is a true and correct copy of excerpts from the deposition of
 2   Thomas Carson, dated November 21, 2014.
 3
             24.        Attached as Exhibit 24 is a true and correct copy of TCE-CRT 0021781, which is also
 4
     deposition exhibit 5846.
 5
             25.        Attached as Exhibit 25 is a true and correct copy of excerpts from the deposition of
 6

 7   James Hanrahan, dated August 27, 2014.

 8           26.        Attached as Exhibit 26 is a true and correct copy of TCE-CRT 0012393.
 9           27.        Attached as Exhibit 27 is a true and correct copy of TCE-CRT 0021805.
10
             28.        Attached as Exhibit 28 is a true and correct copy of TCE-CRT 0012517.
11
             29.        Attached as Exhibit 29 is a true and correct copy of TCE-CRT 0012622.
12
             30.        Attached as Exhibit 30 is a true and correct copy of TCE-CRT 0012505.
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14           31.        Attached as Exhibit 31 is a true and correct copy of TCE-CRT 0012530.

15           32.        Attached as Exhibit 32 is a true and correct copy of TCE-CRT 0018762.
16           33.        Attached as Exhibit 33 is a true and correct copy of TSA-CRT 00000667.
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             34.        Attached as Exhibit 34 is a true and correct copy of TCE-CRT 0013068.
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             35.        Attached as Exhibit 35 is a true and correct copy of TSA-CRT 00012960.
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             36.        Attached as Exhibit 36 is a true and correct copy of TCE-CRT 0013124.
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21           37.        Attached as Exhibit 37 is a true and correct copy of TCE-CRT 0013079.

22           38.        Attached as Exhibit 38 is a true and correct copy of TCE-CRT 0013607.
23           39.        Attached as Exhibit 39 is a true and correct copy of TCE-CRT 0025314.
24
             40.        Attached as Exhibit 40 is a true and correct copy of TCE-CRT 0025313.
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             41.        Attached as Exhibit 41 is a true and correct copy of TCE-CRT 0026413.
26
             42.        Attached as Exhibit 42 is a true and correct copy of TCE-CRT 0020829.
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      DECLARATION IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO THOMSON CONSUMER’S MOTION FOR
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 1           43.        Attached as Exhibit 43 is a true and correct copy of TCE-CRT 0017101.
 2           44.        Attached as Exhibit 44 is a true and correct copy of TCE-CRT 0016517.
 3
             45.        Attached as Exhibit 45 is a true and correct copy of excerpts from the 2011 Annual
 4
     Report of Thomson SA.
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             46.        Attached as Exhibit 46 is a true and correct copy of the Summary of Commission
 6

 7   Decision of 5 December 2012 relating to a proceeding under Article 101 of the Treaty on the

 8   Functioning of the European Union and Article 53 of the EEA Agreement, Official Journal of the
 9   European Union, C 303/13, dated October 19, 2013.
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11
     Executed on this 22nd day of December, 2014 at Houston, Texas.
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                                                                           /s/ David M. Peterson
14                                                                         David M. Peterson

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